UNITED STATES DIST T T
Case 2:OO-cr-20138-SHI\/| Document 301,'§" Fl|ed%l€§OBFO(gUBage 1 of 6 Page|D 391

WESTERN DISTRICT 0F TENNESSEE m 0.0.
WESTERN DIVISION F“£°
_ mt \0= 25
U.s.A. vs. Nichons 1). williams pocket §§ hU§=oi}_°cnzo133-04
HOWG lt GOU\.D
AMENDED Petition on Probation and Supervised RGBLSB_S} FBTR§CEPPC(§M
tie t 1

COMES NOW Dawn Brown PROBATION OFFICER OF THE COURT presenting an oflicial report
upon the conduct and attitude of Nicholas D. Williams who was placed on supervision by the Honorable 'I`homas
A. Higgins sitting in the Court at Memphis, TN on the §_t_h__ day ofM_ay_, Mwho fixed the period of supervision
at five 15 1 years*, and imposed the general terms and conditions theretofore adopted by the Court and also imposed
Special Conditions and terms as follows:

1. The defendant is prohibited from owning, maintaining, possessing, or using firearms, dangerous
weapons or ammunition.

2. The defendant shall participate in a substance abuse treatment programs as directed by the Probation
Ofl`ice.

3. The defendant shall file timely, accurate and lawful income tax retums, including all relevant
schedules and provide a copy of same within five (5) days of the date of filing to the U.S. Probation
Office.

4. The defendant shall furnish all financial records, including but not limited to earning records and tax
returns, to the U.S. Probation Office upon request.

5. The defendant shall pay any remaining restitution due at the time supervision commences in regular
monthly installments of not less than 10% of his gross monthly earnings.

6. If the defendant is unable to secure full-time employment within the first 30 days of supervision, he
may be required to participate in a joblvocational training program at the direction of the U.S.
Probation Office and to obtain his GED.

7. The defendant shall make restitution in the amount of $1,643.25. (Balance: $1,638.25)

*Supervised Release began on February 21, 2003

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER a WARRANT be issued for Nicholas D. Williams to appear
before the United States Dist.rict Court to answer charges of violation of Supervised Release.

 

Bond

ORDER OF COURT l declare under penalty of perjury that the
q h` foregoing is true and correct.

Consi eredan ordered day ---

of "‘) “‘§|"' ,20°_3311¢1 ordered '

filed and made a part of the records in

rheaboveY% hi Z

United States District Judge Place: Memphi . TN

This dochent entered on the docket sheet in com liaan
with Fla|e 55 andfor 32tb) FRCrP on ‘

    

States Pro a `on Otiicer

 

SQB

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RE: Nicholas D. Williams
Docket Number: 2:00CR20138-04
Page 2 (AMENDED VIOLATION)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The Defendant Has Violated The Following Conditions Of His Supervised Release:
The defendant shall not illegally possess a controlled substance.

Mr. Williams submitted urine screens which tested positive for Marijuana on February 24, and June 5, 2003, October
9, and November 18, 2004. Mr. Wil]iams Voluntarily admitted the use ofMarijuana on July 17, 2003.

The defendant shall participate in drug treatment/testing as directed by Probation Otlicer.

During Supervised Release, Mr. Williams was required to participate in drug treatment and screening Excluding a
period of incarceration and a hospitalization Mr. Williams failed to attend forty- four (44) counseling sessions and
failed to submit to drug screening on thirty-seven (37) occasions He was discharged from drug treatment on
December 29, 2004, for failure to comply with drug treatment

The defendant shall report to the Probation Officer and shall submit a truthful and complete written report
within the first five ((5) days of each month.

Mr. Williams failed to keep scheduled appointments on December 2, 2004, January 12 and March 4, 2005. Mr.
Wil]iams has failed to submit monthly report forms for the months ofNovember and December 2004. He also failed
to submit monthly report forms for January, February and March of 2005.

The defendant shall work regularly at lawful occupations unless excused by the Probation Officer for
schooling, training or other acceptable reasons.

To this date, Mr. Williams failed to secure employment He has been unemployed since February 21, 2003.
The defendant shall not commit another federal, state or local crime.

On April 15, 2004, Memphis Police Oti:icers responded to a complaint of shots being tired at 999 Rayner, Memphis,
TN. The victim, Anderson Fullilove, advised officers that his vehicle which was parked in h'ont of 999 Rayner had
been vanda]ized by Nicholas Williams. It is alleged that Mr. Wil]iams walked up to the parked vehicle belonging to
Mr. Fullilove, pulled a gunfromhis pocket and fired one shot breaking the rear windows On May 13, 2004, a warrant
was issued for Mr. Williams’ arrest charging him with Vanda]ism $500 or Less. On May l6, 2004, the warrant was
executed. On February 2, 2005 this matter was Nolle Prossed in Division 10 of the Shelby County Crirninal Court.
On March 18, 2005, USPO Brown spoke with the victim, Anderson Fullilove, who advised that he witnessed Mr.
Williams in possession of a firearm which he discharged thus, vandalizing his vehicle.

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Page 3
Niclmlas D. Williams
AMENDED V“I()I,ATI()N

The defendant shall not possess a firearm, destructive device of any other dangerous weapon.

lt is alleged that on April 15, 2004, Mr. Williams walked up to the parked vehicle belonging to Mr. Anderson
Fullilove, pulled a gun from his pocket and fired one shot breaking the rear windows On March 18, 2005, USPO
Brown spoke with the victim, Anderson Fullilove, who advised that he witnessed Mr. Williams in possession of a
firearm which he discharged thus vandalizing his vehicle.

The defendant shall not commit another Federal, state or local crime.

On June 8, 2005, during a “Buy Bust” operation being conducted in the area of Mississippi and Trigg, Mr. Williams
Was arrested by the Memphis Police Department Organized Crime Unit and charged with ManufacturefDeliver/Sell
of a Controlled Substance to wit: Crack Cocaine after it was determined by Police that Mr. Williams was the drug
distributor as he was found in possession of the marked $10 bill given to his codefendant by undercover detectives
to purchase 0.03 grams of crack cocaine. Presently, Mr. Williams is detained in state custody in lieu of a $15,000
bond. He is scheduled for a preliminary hearing on August 2, 2005 in Division 8 of Shelby County General Session
Court .

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1. Defendant Nicholas D. Williams, (?50 Georgia, Mempbis, TN 38106)

 

 

2. Docket Number (Year-Seqnence-Defendant No.) 2:00CR20138-04
3. District/Ofl'ice Western District of Tennessee (Memphis)
4. Original Sentence Date 05 / 06 l 2002
month day year
(If different than above):
5. Original District/Oflice

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade w §TBl.l}:
Violation|sl Grade

0 lllegally possessed/use of a controlled substance
0 Fai]ure to participate in drug treatmentftesting

0 Failure to Report to the Probation Oflice

0 Failure to obtain employment

0 New Criminal Conduct: Vandalism $500 or Less

0 Felon in Possession of Firearm

>UJOOOO(°)

¢ New Criminal Conduct: Manufacture/Deliver/Sell a Controlled Substance, to wit: Crack Cocaine

W

 

 

 

 

B. Most Serious Grade of Violation (§eg §7Bl .l(b)) A

9. Criminal History Category (_§_@ §7B1.4(a))74 III

10. Rangc of imprisonment (E §7Bl .4(a)) 18-24 months
*Being originally convicted of a Class B Felony, the statutory maximum term of imprisonment is three (3) years; 18 USC
§3583(¢)(3).

ll. Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{ } (a)If the minimum term of imprisonment determined under §7Bl .4 (Terrn of Imprisonment) is at least one month but
not more than six months, §731.3(c)(l) provides sentencing options to imprisonment

{ } _ (b)lf the minimum term of imprisonment determined under §7Bl.4 (Term of Imprisonment) is more than six months
but not more than ten months, §7Bl .3(c)(2) provides sentencing options to imprisonment

{x } (c)If the minimum term of imprisonment determined under §7B l .4 (Term of Imprisonment) is more than ten months,

no sentencing options to imprisonment are available.

Mail documents to: United States Sentencing Colnmission, 1331 Pennsylvania Avenue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

15.

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Defendant Nicholas D. Williams

Unsatisiied Conditions of Original Sentence

List any restitution, tine, community confinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {B §7B l .3(d)}:

 

 

 

 

Restitution ($) l. 638.25 Community Coniinement N/A
F inc ($) NIA Home Detention N/A
Other N/'A Intermittent Continement N/A

 

 

Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of
§§5D1.l-1.3{Y§ §§7Bl.3(g)(l)}.

Term: to years
It` supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment
impossible upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon
release li'om imprisonment {§_e_e 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.
Period of supervised release to be served following release from imprisonment

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Ofticial Detention Adjustment {§e_e_ §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Comlnission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit`

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 305 in
case 2:00-CR-20138 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

Tony R. Arvin

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Honorable Samuel Mays
US DISTRICT COURT

